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                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                            CENTRAL DIVISION

UNITED STATES OF AMERICA                                                      PLAINTIFF

v.                          CASE NO. 4:17-CR-00293-BSM

CHRISTOPHER BUBER                                                           DEFENDANT

                                         ORDER

       In the interests of justice, CJA panel member Rickey H. Hicks is appointed as Crystal

Okoro’s co-counsel to represent Christopher Buber. See Local Rule for the Eastern and

Western Districts of Arkansas 83.7.

       The clerk is directed to send Hicks a copy of this order and local rule 83.7. Counsel

may access the file from CM/ECF. If counsel is unable to obtain a copy of the file from

CM/ECF, he should contact court staff, and a copy of the file, or any portion requested, will

be provided via compact disc free of charge.

       IT IS SO ORDERED this 20th day of August, 2021.



                                                    UNITED STATES DISTRICT JUDGE
